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                                                                    he did not disclose to investors that Russian
        S.E.C. v. Autocorp Equities, Inc.D.Utah,2004.Only           certificates of deposit purportedly worth $5 million
        the Westlaw citation is currently available.                were fake. The court largely agrees and GRANTS
            United States District Court,D. Utah, Central           IN PART summary judgment.
                               Division.
         SECURITIES AND EXCHANGE COMMISSION,
                               Plaintiff,                                                  FACTS
                                  v.
          AUTOCORP EQUITIES, INC., Michael Carnicle,                The facts have already been thoroughly stated in an
           Robert Cord Beatty, Hillel Sher, Amotz Frenkel,          earlier order,FN1 so it is not necessary to give a full
                   and Nili Frenkel, Defendants.                    recital here. It will suffice to recount that Beatty
               andNili FRENKEL, Relief Defendant.                   was involved with securing funds for a new
                     No. 2:98-CV-00562 PGC.                         company called Chariot Entertainment. Through
                                                                    that endeavor, Beatty met the other defendants in
                           Aug. 4, 2004.                            this case, who arranged to secure so-called Russian
                                                                    certificates of deposit or CDs purportedly worth $5
                                                                    million. The CDs could then be listed as assets to
        Robert K. Hunt, Utah Federal Defender Office,               secure loans for Chariot.
        William B. McKean, Thomas M. Melton, Brent R.
        Baker, Karen L. Martinez, Salt Lake City, UT, for
        plaintiff.                                                          FN1. See SEC v. Autocorp, 292 F.Supp.2d
        Douglas E. Griffith, Kesler & Rust, Jeffrey W.                      1310 (D.Utah 2003).
        Shields, Jones Waldo Holbrook & McDonough,
        Mark J. Griffin, Woodbury & Kesler, David W.                The agreement was signed on March 23, 1994. The
        Scofield, Ronald F. Price, Peters Scofield Price,           CDs were about 30% of Chariot's assets and were
        Salt Lake City, UT, Beth Ann Blackwood, Dan R.              included on its balance sheets and financial
        Waller, Secore & Waller, Dallas, TX, Russell S.             statements. In late March 1994, Beatty hired Judith
        Mitchell, Jones Waldo Holbrook & McDonough,                 Jarvis of the law firm of Broad and Cassel to
        St. George, UT, for defendants.                             represent Chariot in securities matters. On March
        Michael Carnicle, Salt Lake City, UT, pro se.               31, 1994, Chariot filed a Form 10-Q with the SEC,
        Hillel Sher, Brooklyn, NY, pro se.                          listing the CDs as an asset, and on April 5, 1994,
        Amotz Frenkel, Oak Park, CA, pro se.                        Chariot filed registration form S8 with the SEC.
        Nili Frenkel, Oak Park, CA, pro se.                         Chariot began selling stock on the public market,
                                                                    and Beatty began to raise money by getting loans on
          OPINION AND ORDER GRANTING IN PART                        the CDs.
          SUMMARY JUDGMENT AGAINST ROBERT
                          CORD BEATTY                               Unbeknownst to Beatty, however, the CDs were
        CASSELL, J.                                                 fake. One of the other defendants, Hillel Sher, had
        *1 This securities fraud enforcement action is again        simply printed them in a Kinko's copy center. The
        before the court on a motion by plaintiff Securities        other defendants had arranged to transfer the CDs to
        and Exchange Commission (SEC) for summary                   Chariot in a complicated transaction that would
        judgment against defendant Robert Cord Beatty (#            make it difficult for anyone to realize the CDs' true
        121-1). The SEC claims that Beatty committed                value.
        securities fraud and other securities violations when

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        In addition to lying about the CDs' value, the other        to the other defendants but withheld judgment as to
        defendants tried to increase their own profit by            Beatty. Because the parties had not briefed the
        arranging for Chariot to issue unregistered shares in       significance of the fact that Beatty learned the CDs
        exchange for the CDs. These shares were ostensibly          were false after he had been reinstated as president,
        issued to Yoheved Datner, an Israeli national,              the court directed the parties to brief that issue,
        pursuant to a provision called Regulation S. The            which they have done. Having heard argument on
        court has previously ruled that this transfer was           the SEC's motion for summary judgment, the court
        orchestrated by the other defendants to transfer            agrees that summary judgment is proper against
        unregistered Chariot stock to the defendants.               Beatty on all claims except for the Section 5
        However, for purposes of summary judgment, the              registration claim.
        court concluded that Beatty knew nothing about this
        plan to avoid the registration requirement.
                                                                                        ANALYSIS
        Beatty quickly learned, though, that the CDs were
        not what the other defendants had represented them          The summary judgment standard is well known.
        to be. During that summer, he tried repeatedly-and          Summary judgment is proper where “there is no
        unsuccessfully-to get a loan based on the CDs, even         genuine issue as to any material fact.” FN3 In
        though he had been removed as Chariot president in          deciding such a motion, the court must “view the
        May 1994. In early September 1994 Beatty was                evidence and draw reasonable inferences therefrom
        reinstated as president. Later that month he learned        in the light most favorable to the nonmoving party.”
        that another company, Prodigy, had CDs issued by            FN4 Each claim will be considered under this
        the same Russian bank and with the same serial              standard.
        number. By September 20, Beatty had openly
        admitted the CDs were worthless based on his
        inability to get a loan on them.FN2                                 FN3. Fed.R.Civ.P. 56(c).

                                                                            FN4. Koch v. Koch Industries, Inc., 203
                FN2. Deposition of Robert Cord Beatty of                    F.3d 1202, 1212 (10th Cir.2000) (citation
                Feb. 21, 2001, at 55-55.                                    omitted), cert. denied, 531 U.S. 926 (2000)
                                                                            .
        *2 In the end, the CDs, purportedly worth up to five
        million dollars were sold to a company in the West                           I. Securities Fraud
        Indies for one dollar. Chariot shares continued to be
        traded publicly until October 1994, when Chariot            At the center of this motion is the allegation that
        was finally delisted for having insufficient funds.         Beatty committed securities fraud. The court has
        Beatty was president up until that time.                    already disposed of a number of the SEC's fraud
                                                                    theories; the only issue remaining is whether Beatty
        Based on these facts, the SEC filed this civil              is liable for securities fraud when he, as Chariot
        enforcement action against Beatty and the others            president, did not inform investors that the CDs
        involved. The SEC claimed that Beatty and the               were worthless. The court concludes that he is.
        others committed securities fraud by holding out the
        fake Russian CDs as authentic. In addition to the           Although there are some differences between an
        allegations of fraud, the SEC claimed that Beatty           action rising under Section 17(a) of the Securities
        and the others violated securities registration laws        Act FN5 and one rising under Section 10(b) of the
        by selling unregistered Chariot stock. The SEC also
                                                                    Exchange Act FN6 and its corresponding Rule
        alleged that Beatty was liable for aiding and
        abetting Chariot in record-keeping violations.              10b-5,FN7 the court has already summarized the
                                                                    various requirements and has concluded that to
        The court previously granted summary judgment as            prevail on the fraud claims in this case, the SEC
                                                                    must establish four elements: (1) a fraudulent act,

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        (2) in the sale of securities, (3) perpetrated by           reasonable minds cannot differ on the question of
        jurisdictional means, (4) that is done with the             materiality.” FN12
        specified mental state. FN8

                                                                            FN11. S.E.C. v. Cochran, 214 F.3d 1261,
                FN5. 15 U.S.C. § 77q(a).                                    1267 (10th Cir.2000) (citing TSC
                                                                            Industries, Inc. v. Northway, Inc., 426 U.S.
                FN6. Id. § 78j(b)                                           438, 449, 96 S.Ct. 2126, 48 L.Ed.2d 757
                                                                            (1976)); Grossman v. Novell, Inc., 120
                FN7. 17 C.F.R. § 240.10b-5.                                 F.3d 1112, 1119 (10th Cir.1997).

                FN8. Autocorp, 292 F.Supp.2d 1317-18.                       FN12. TSC Industries, Inc., 426 U.S. at
                                                                            449; Cochran, 214 F.3d at 1267.
                         A. Fraudulent Act
                                                                    The court has already concluded that the CDs' true
        Here, the undisputed evidence plainly establishes           value was material, FN13 but Beatty argues that by
        that once Beatty had been reinstated as president           September 1994 it was well known that Chariot was
        and knew the CDs were fake, his failure to inform           struggling to get a loan, so the omission would not
        investors of this fact was a material omission. The         have mattered to investors. The court disagrees.
        Tenth Circuit has held that a material omission, “          Without the knowledge of the CDs true worth,
        where there is a duty to speak,” can be the basis of a      investors might still have been inclined to take their
        securities fraud claim under Rule 10b-5.FN9                 chances with Chariot, hoping that things would turn
        Although Section 17(a) is not expressed in such             around. On the other hand, if investors knew that
        terms, it imposes liability for “any device, scheme,        the CDs-which comprised about 30% of Chariot's
        or artifice to defraud” and for any “course of              assets-were fake, investors would not have put their
        business which operates or would operate as a fraud         money on Chariot. Thus, even as late as September
        or deceit upon the purchaser.” FN10 The court               1994, the true value of the CDs was material.
        concludes that a material misrepresentation for
        purposes of 10b-5 will also satisfy the requirements
        of Section 17(a). Thus, the court must consider two                 FN13. Autocorp, 292 F.Supp.2d 1320.
        issues: materiality and duty.
                                                                                           b. Duty

                FN9. Geman, 334 F.3d at 1192; 17 C.F.R.             The more complicated issue here is whether the
                § 240.10b-5.                                        president of a corporation has an inherent duty to
                                                                    notify shareholders of information that has come to
                FN10. See 15 U.S.C. § 77q(a).                       light after a required filing that makes the
                                                                    information in the filing false. The court concludes
                            a. Materiality                          that he does.

        *3 Undoubtedly, Beatty's omission was material.             A number of cases have specifically held that a
        An omission is material “if a reasonable investor           corporate officer had a duty to inform investors of
        would consider it important in determining whether          developments that happened after a public filing
        to buy or sell stock” and if it would have “                that made information in the filing false.FN14 In
        significantly altered the total mix of information          one case, the Second Circuit held that the
        available” to current and potential investors.FN11          defendants     had    committed     fraud    where
        Although materiality is often a question of fact,           developments subsequent to issuing the prospectus
        summary judgment is proper where the omission is “          made the prospectus misleading. It stated, “
        so obviously important to an investor, that                 Post-effective developments which materially alter

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        the picture presented in the registration statement                  Co., 77 F.3d 1215, 1226 (10th Cir.1996).
        must be brought to the attention of public investors.”
        FN15 The court went on to conclude that an                           FN19. Id.
        officer who “was actively involved in selling the
        issue” was “obligated to bring to the attention of           *4 Here, the CDs were included in basic SEC
        offerees any developments which made the                     filings that obviously would be relied upon by
        prospectus misleading in any material respect.” FN16         investors. It is undisputed that Chariot stock
                                                                     continued to be sold publicly until October 1994,
                                                                     when Chariot was delisted. Thus, up until then,
                                                                     however, without any warning from Beatty,
                FN14. See, e.g., Securities and Exchange             investors would have continued relying on the SEC
                Commission v. Manor Nursing Centers,                 filings in purchasing or selling stock. This element
                Inc., 458 F.2d 1082 (2nd Cir.1972); SEC              is satisfied as well.
                v.    Coates,    137     F.Supp.2d   413
                (S.D.N.Y.2001).
                                                                                   C. Jurisdictional Means
                FN15. 458 F.2d at 1095.
                                                                     The third element is that the fraud be perpetrated by
                FN16. Id. at 1097.                                   federal “jurisdictional means,” such as the mails or
                                                                     telephone lines.FN20 Although the SEC has not
        Under these principles, Beatty was clearly obligated         alleged that Beatty was involved in phone calls or
        to inform investors that the CDs were worthless              wrote letters about the Russian CDs after he had
        when he was reinstated as Chariot president in               been reinstated as president, this fact seems implicit
        September 1994. Thus, the court concludes that his           in the factual record,FN21 and Beatty has not
        failure to disclose the CDs' true worth to investors         challenged the SEC's position on this point.
        was a material omission for purposes of Rule 10b-5
        and Section 17(a).
                                                                             FN20. 15 U.S.C. § 77q(a) (making it
                                                                             unlawful to commit securities fraud “by
                    B. Offer or Sale of Securities                           the use of any means or instruments of
                                                                             transportation   or    communication     in
        The second element the SEC must establish is that                    interstate commerce or by use of the mails”
        the fraudulent act was committed in the offer or sale                ); 17 C . F.R. § 240.10b-5 (making it
        of any securities. The court has already concluded                   unlawful to commit securities fraud “by
        that any difference between Rule 10b-5 and Section                   the use of any means or instrumentality of
        17(a) is not dispositive in this case,FN17 and Beatty                interstate commerce, or of the mails”).
        has not argued otherwise. The Tenth Circuit has
        expressly held that “[t]here is no requirement that                  FN21. Depo. of Robert Cord Beatty (Feb.
        the alleged violator directly communicate                            21, 2001) 57.
        misrepresentations to [investors].” FN18 It is
        enough that a person “knew or should have known                                   D. Scienter
        that his representation would be communicated to
        investors.” FN19                                             Perhaps the most contentious element in this claim
                                                                     is Beatty's scienter. To prevail on its Rule 10b-5 or
                                                                     Section 17(a)(1) causes of action, the SEC must
                FN17. Autocorp, 292 F.Supp.2d at 1318-19             establish “scienter,” which has been defined as “the
                .                                                    intent to deceive, manipulate, or defraud.” FN22
                                                                     The Tenth Circuit has held that scienter may be
                FN18. Anixter v. Home-Stake Production               established by a showing of recklessness, that is, “

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        conduct that is an extreme departure from the               be liable for selling unregistered shares under this
        standards of ordinary care, and which presents a            provision. In support of its argument, the SEC cites
        danger of misleading buyers or sellers that is either       some new authority. None of these cases
        known to the defendant or is so obvious that the            significantly alter the court's previous analysis, so
        actor must have been aware of it.” FN23                     the court reaffirms its denial of the SEC's motion
                                                                    for summary judgment on this claim.

                FN22. Ernst & Ernst v. Hochfelder, 425
                U.S. 185, 193, 96 S.Ct. 1375, 47 L.Ed.2d                    FN25. Autocorp, 292 F.Supp.2d at 1329
                668 (1976), quoted by Anixter, 77 F.3d at                   (discussing 15 U.S.C. § 77e(a), (c)).
                1232.
                                                                    The court has already discussed at length the
                FN23. Anixter, 77 F.3d at 1232-33;                  relevant law surrounding this claim,FN26 but it is
                Hackbart v. Holmes, 675 F.2d 1114,                  worth noting a few guiding propositions. Absent
                1117-18 (10th Cir.1982).                            some exemption, Section 5 prohibits selling
                                                                    unregistered securities.FN27 Once the SEC has
        Here, there can be no serious dispute that Beatty           established a prima facie case for a Section 5
        knew of or was reckless with regard to the CDs'             violation, the burden of proof shifts to the defendant
        worthlessness. He could not get a loan on the CDs           to establish that he has satisfied the requirements of
        despite numerous attempts. Moreover, he ultimately          the exemption.FN28 Nevertheless, a defendant who
        told others that the CDs were worthless. Beatty             establishes that the sale was made pursuant to an
        argues that his admission referred to the CDs' value        exemption may still be liable for the sale if the
        as collateral for a loan, not their value as a              securities were issued as “part of a plan to evade the
        corporate asset. However, his inability to get a loan       registration provisions of the Securities Act.” FN29
        coupled by the subsequent revelation that another
        company (Prodigy) had identical certificates and
        had also been unable to secure a loan certainly                     FN26. Autocorp, 292 F.Supp.2d at 1327-28
        should have alerted him to the substantial problems                 .
        with the CDs. At a minimum, these various facts
        created a “danger of misleading buyers that ... [was]               FN27. See 15 U.S.C. § 77e(a), (c).
        so obvious that [Beatty] must have been aware of it.
        ” FN24                                                              FN28. See Securities and Exchange
                                                                            Commission v. Ralston Purina Co., 346
                                                                            U.S. 119, 126, 73 S.Ct. 981, 97 L.Ed.
                FN24. Anixter, 77 F.3d at           1232-33;                1494 (1953); see also SEC v. Softpoint,
                Hackbart, 675 F.2d at 1117-18.                              Inc., 958 F.Supp. 846, 859 (S.D.N.Y.1997)
                                                                            .
        Accordingly, the court finds that the SEC has
        established that Beatty committed fraud when he                     FN29. See Softpoint, Inc., 958 F.Supp. at
        failed to inform investors that the CDs were                        861 (S.D.N.Y.1997); 17 C.F.R. § 230.901
        apparently worthless and grants the SEC's motion                    n. 2.
        for summary judgment against Beatty on this claim.
                                                                    *5 It is undisputed that Chariot issued unregistered
                                                                    shares of Chariot stock. Beatty argues that this sale
                        II. Section 5 Claims                        satisfies the requirements of “Regulation S.” The
                                                                    court previously concluded that this exemption did
        Although the court already rejected the SEC's claim         not protect defendant Michael Carnicle (who had
        that Beatty violated Section 5 of the 1933 Securities       participated in the plan to avoid the registration
        Act,FN25 the SEC again argues that Beatty should            requirements), but could protect Beatty (who was

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        apparently unaware of the plan).                            Accordingly, the court holds that the “plan or
                                                                    scheme” exception to Regulation S does not apply
        The SEC again argues that Beatty's ignorance of the         to a defendant who did not actually participate in
        plan does not save him since Section 5 requires no          the plan or scheme and otherwise complied with the
        scienter. The SEC cites SEC v.. Friendly Power              regulation.
        Company,FN30 which held that “neither a good
        faith belief that the offers or sales in question were      Here, Beatty argues that, after consulting with an
        legal, nor reliance on the advice of counsel,               attorney, he reasonably believed he had complied
        provides a complete defense to a charge of violating        with Regulation S. Taking the evidence in the light
        Section 5 of the Securities Act,” FN31 and also             most favorable to him, the court agrees that he has
        cites SEC v. Parkersburg Wireless, FN32 which               sufficiently established his compliance to get past
        held, “[t]here is, however, no scienter under Section       summary judgment. For the reasons stated in its
        5, and whether [the defendant] was an unwitting             prior opinion, the court again finds that Beatty did
        participant in this complex scheme would be of no           not participate in the plan to avoid the registration
                                                                    requirements and denies summary judgment on this
        moment.” FN33 Under this authority, the SEC
                                                                    claim.
        argues, Beatty's awareness of any plan is irrelevant.
        Because a plan existed, the exemption did not
        actually apply, and Beatty is thus liable for a
                                                                            III. Aiding and Abetting in Chariot's
        Section 5 violation.
                                                                                  Record-Keeping Violation

                                                                    The court had previously denied summary judgment
                FN30. 49 F.Supp.2d 1363 (S.D.Fla.1999).
                                                                    on the SEC's claim that Beatty aided and abetted
                                                                    Chariot in various record-keeping violations but
                FN31. Id. at 1367-68.
                                                                    invited the SEC to renew that argument here. The
                                                                    main addition to the SEC's earlier briefing is a case
                FN32. 991 F.Supp. 6 (D.D.C.1997).
                                                                    that specifically sets argument here. The main
                                                                    addition to the SEC's earlier briefing is a case that
                FN33. Id. at 9.
                                                                    specifically sets forth the elements of aider and
                                                                    abettor liability under Section 13(b)(2)(A) of the
        However, none of the cases cited by the SEC stand
                                                                    Securities Act, which requires an issuer to “make
        for the proposition that a defendant who otherwise
                                                                    and keep books, records, and accounts, which, in
        complied with Regulation S is not entitled to an
                                                                    reasonable detail, accurately and fairly reflect the
        exemption because of the existence of a plan or
                                                                    transactions and dispositions of the assets of the
        scheme in which he did not participate. Without any
        precedent in support of such a rule, the court is not       issuer.” FN34 In Ponce v. S.E.C.,FN35 the Ninth
        inclined to adopt such a draconian view of the law.         Circuit interpreted this stated three elements that
        The court notes that the very issue being litigated,        must be established to show aider and abettor
        i.e., the “plan or scheme” exception to Regulation          liability for a violation of this section: (1) that
        S, appears in an advisory note in the Code of               another party violated securities laws, (2) that the
        Federal Regulations. The precise legal weight to be         defendant “had knowledge of the primary violation
        given to such a note is unclear. The court agrees           and of his or her own role in furthering it,” and (3)
        that defendants, such as Michael Carnicle, who plot         that the defendant “provided substantial assistance
        their way around federal registration requirements          in the primary violation.” FN36
        are not entitled to fence themselves in from the
        consequences of their misdeeds. But other
        defendants who have honestly complied with the                      FN34. 15 U.S.C. § 78m(b)(2)(A).
        technical requirements of Regulation S should not
        be penalized simply because others around them                      FN35. 345 F.3d 722 (9th Cir.2003).
        conspired together to make an extra buck.

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                FN36. Id. at 737.                                   likelihood that the defendant, if not enjoined, will
                                                                    violate securities laws in the future.” FN40 To
        *6 Here, there can be no serious dispute that               determine whether future violations are likely, this
        Chariot violated Section 13(b)(2)(A) by including           court should consider several factors: “the
        the fake CDs on its books. Moreover, as discussed           seriousness of the violation, the degree of scienter,
        above, Beatty eventually learned of the fraud and,          whether defendant's occupation will present
        as president, must have known that his failure to           opportunities for future violations, and whether
        disclose the fraud provided substantial assistance to       defendant has recognized his wrongful conduct and
        the company's continued record-keeping violation.           gives sincere assurances against future violations.”
        Accordingly, the court grants summary judgment on           FN41 Of these factors, the degree of scienter is
        this claim.
                                                                    particularly weighty.FN42

                   IV. Misleading an Accountant
                                                                            FN39. 15 U.S.C. §§ 77t(b), 78u(d)(1).
        In addition to aider and abettor liability, the SEC
                                                                            FN40. SEC v. Pros Intern., Inc., 994 F.2d
        renews its argument that Beatty is personally liable
                                                                            767, 769 (10th Cir.1993).
        for violating Rule 13b2-2,FN37 which imposes a
        duty on corporate officers to clarify previous                      FN41. Id.
        statements that are misleading in the absence of
        some material fact.FN38 It is undisputed that Beatty                FN42. See Id.; Securities and Exchange
        worked with accountants to get the CDs and to issue                 Commission v. Haswell, 654 F.2d 698, 699
        the various SEC filings. If those conversations were                (10th Cir.1981).
        the only evidence in support of this claim, summary
        judgment would not be proper. However, once                 Given the violations established in this case, the
        Beatty learned the truth of the CDs, Rule 13b2-2            court concludes that an injunction against future
        imposed a duty on him to inform the accountants,            violations is proper. However, an injunction against
        which he did not do. Accordingly, summary                   Beatty's ever again serving as corporate officer
        judgment is proper on this claim as well.                   seems excessive. At argument, the parties
                                                                    represented that such an injunction is the “death
                                                                    penalty” of corporate law. Had the SEC established
                FN37. 17 C.F.R. § 240.13b2-2.                       that Beatty was in on the plot from the beginning,
                                                                    perhaps such an injunction would be warranted.
                FN38. Id.                                           However, at this time, the SEC has only established
                                                                    liability based on Beatty's failure to disclose
                         V. Injunctive Relief                       information he learned after the fact. While this
                                                                    failure certainly was actionable, it does not manifest
        Based on the foregoing, the court concludes that            such an offensive mental state that warrants the “
        Beatty should be enjoined from future violations of         death penalty.” Accordingly, such relief is denied.
        federal securities laws, specifically Section 17(a),
        Section 10, and Rule 10b-5, but it is unnecessary to
        enjoin him from serving on corporate boards or                                  CONCLUSION
        from future violations of Section 5.
                                                                    *7 Based on this analysis, the court GRANTS IN
        An injunction is proper where a defendant “is               PART the SEC's Motion for Summary Judgment
        engaged or about to engage in” violations of federal        Against Defendant Robert Cord Beatty (# 121-1).
        securities laws.FN39 “An injunction based on the            A. The motion is GRANTED as to the violations of
        violation of securities laws is appropriate if the SEC      a) Securities fraud under Section 17(a), Section
        demonstrates a reasonable and substantial                   10(b), and Rule 10b-5;

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        b) Aiding and abetting Chariot's violation of Section
        13(b)(2)(A); and
        c) Misleading an accountant under Rule 13b2-2;
        B. The motion is DENIED as to the Section 5
        violation; and
        C. The motion is GRANTED as to the SEC's
        motion for an injunction against future securities
        violations but is DENIED as to an injunction
        against ever serving as a director or officer in the
        future.


        Given that the SEC has substantially prevailed on
        its claims, the court invites an appropriate motion
        from the SEC to dismiss its remaining claims in this
        case. The court also directs the SEC to file an
        appropriate injunction order within two weeks from
        the date of this order.

        SO ORDERED.

        D.Utah,2004.
        S.E.C. v. Autocorp Equities, Inc.
        Not Reported in F.Supp.2d, 2004 WL 1771608
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